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                           Exhibit C
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                              WESTBOROUGH SPE LLC

                    LIMITED LIABILITY COMPANY AGREEMENT




   October 22, 1997



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                   LIMITED LIABILITY COMPANY AGREEMENT
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                              WESTBOROUGH SPE LLC

                    LIMITED LIABILITY COMPANY AGREEMENT


          This Limited Liability Company Agreement (the "Agreement"), dated as of
   the 22nd day of October, 1997, is by and between MIGNONETTE
   INVESTMENTS LIMITED, a British Virgin Islands entity organized under the
   BVI International Business Companies Act (the "Member"), and BABCOCK &
   BROWN ADMINISTRATIVE SERVICES, INC., a Delaware corporation, as the
   Manager.

                                    RECITALS:

          A.     The Member formed a limited liability company (the "Company")
   pursuant to and in accordance with the Delaware Limited Liability Company Act
   (the "LLC Act") by the filing on the date hereof of a Certificate of Formation with
   the Secretary of State of the State of Delaware for the purposes described therein
   and herein.

           B.     The Member and Babcock & Brown Administrative Services, Inc.
   desire to enter into this Agreement to provide for, among other things, the
   management of the business and affairs of the Company, the distribution of monies
   and allocation of profits and losses as to the Member, and the respective rights,
   interests, obligations and duties of the Member and of the Manager to each other
   and to the Company and its assets, business, liabilities and obligations.

         NOW, THEREFORE, in consideration of the mutual covenants herein
   expressed, the parties hereto hereby agree as follows:

                              OPERATING AGREEMENT

             1.    Formation. Management, Purposes. Name

           (a)    The rights and liabilities of the parties hereto shall be determined
   pursuant to the LLC Act and this Agreement. To the extent that the rights or
   obligations of the parties are different by reason of any provision of this
   Agreement than they would be in the absence of any such provision, or even if this
   Agreement is inconsistent with the LLC Act, this Agreement shall control, except
   to the extent the LLC Act provides that the applicable provisions thereof as to any



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Casemay not be modified
     23-40709     Doc 70-3as provided  in this Agreement,
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    hereof shall be applicable LLCtheAgreement
                                      extent, if any,Page 5 of by
                                                      allowed  20 the LLC Act.

                  The name of the Member and its address are set forth on Schedule A
    attached hereto. If any additional Members and/or substitute Members are
    hereinafter added as Members in the Company their names and respective
    addresses shall be added by amendment of said Schedule A.

           The registered office and the registered agent of the Company in the State
    of Delaware shall be as set forth in the Certificate, as such office and agent may be
    changed, and as the Certificate may, as a consequence thereof, be amended from
    time to time by the Manager.

            (b)     The name of the limited liability company formed hereby is
    Westborough SPE LLC. The business of the Company may be conducted under
    that name or, upon compliance with applicable laws, any other name that the
    Manager deems appropriate or advisable. The Manager shall file, or shall cause to
    be filed, the Certificate of Formation and any fictitious name certificates, foreign
    state registrations and similar filings, and any amendments to any thereof, that the
    Manager considers necessary, appropriate or advisable, including, without
    limitation, an Application for Registration as a foreign limited liability company in
    the Commonwealth of Massachusetts.

            (c)     The Company is formed for the sole purpose of, and the nature of the
    sole business to be conducted by the Company is, to acquire, own, construct, lease,
    operate, maintain and, consistent with its investment purposes, to sell, exchange,
    convey and otherwise transfer, and otherwise to deal with, in any manner deemed
    desirable, the real property generally described in Schedule C attached hereto, and
    any other real property and any personal property, tangible or intangible,
    appurtenant to any thereof or hereafter acquired as necessary or convenient in
    connection with such real property, and to own interests in and be a member
    and/or manager, partner, general or limited, venturer, stockholder or other holder
    of interests in any entity holding direct or indirect interests in any such assets or
    engaged in any such activity, and in connection with all of the above, the Company
    may engage in any lawful act or activity for which limited liability companies may
    be formed under the LLC Act and in any and all activities necessary, advisable,
    convenient or incidental thereto. The purposes of the Company may not be
    broadened without the unanimous consent of all the Members and the Manager,
    nor may it be broadened if such would violate or cause a default under any
    agreement to which the Company is a party or by which it is bound.



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                  In furtherance of the conduct of the purposes described above, the
CaseCompany
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                            C - LLC Agreement Page 6 of 20
    business or actions which an Company may take under the LLC Act and, except as
    limited by the LLC Act, any activities, business or actions which a business
    corporation or a limited partnership would be entitled to engage in or take pursuant
    to the applicable laws of the State of Delaware, or under other applicable law, so
    long as such powers are necessary or convenient to the conduct, promotion or
    attainment of the business, trade, purposes or activities of the Company.

           (d)    Babcock & Brown Administrative Services Inc. hereby designated
    as the Manager of the Company. One or more Managers may be designated and
    the number of Managers may be determined at any time by "Consent of the
    Members"; provided, however, that any such Consent providing for the Company
    to have more than one Manager shall only be made by amendment of this
    Agreement and shall also indicate those circumstances in which each Manager will
    be authorized to act alone and those circumstances in which more than one or all
    of the Managers will be required to act on behalf of the Company. A Manager
    may be removed by Consent of the Members at any time and for any reason or for
    no reason.

           (e)     Except as otherwise specifically provided in this Section 1 and in
    Section 8 of this Agreement: (i) the overall management and control of the
    business and affairs of the Company, and the sole and exclusive authority to make
    all decisions and take all actions as to the business and affairs of the Company,
    shall be vested in the Manager, who shall have the sole power and authority to
    make any decision and to take any action and to exercise any power on behalf of
    the Company which the Company has the right, power and authority to take or
    otherwise engage in; and (ii) the Members shall have no voting rights, consent or
    approval over or as to any such matters.

                  Notwithstanding the above, the Manager may not file, on behalf of
    the Company, a petition in bankruptcy or for reorganization or insolvency or any
    other similar matter without the unanimous consent of the Members.

                   The Manager shall devote, and shall cause its members, partners,
    officers, directors and employees, if any, to devote such time to the affairs of the
    Company as such Manager, in its sole discretion, determines is necessary for
    performance by the Manager of its duties, provided no such persons shall be
    required to devote full time to such affairs. The Manager shall have the right and
    power to manage, operate, and control the Company, and to do all things and take



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                             C - LLC Agreement Page 7 of 20
           "Consent of the Members" shall mean action of the holders of more than
    two-thirds of the Percentage Interests of all the Members, as such Percentage
    Interests are initially set forth on Schedule A hereto and as such Percentage
    Interests may be changed pursuant to the other provisions of this Agreement.

                   No Manager may resign or retire from, abandon or otherwise
    terminate its status as a Manager without the Consent of the Members.

           (f)    No Member, acting in its capacity as a Member (but nothing herein
    limiting any Member's capacity as a Manager if a Member is also a Manager),
    shall have any authority, power or privilege to act on behalf of or to bind the
    Company.

          (g)     The signature of the Manager or, if more than one Manager any time,
   of any Manager on any agreement, contract, instrument or other document shall be
   sufficient to bind the Company and any other Manager in respect thereof, shall be
   deemed the action of the Company and of any other Manager, and shall
   conclusively evidence the authority of such executing Manager and the Company
   with respect thereto, and no third party need look to any other evidence or require
   joinder or consent of any other party to bind the Company or to evidence such
   Manager's authority.

                 Without in any way amending, modifying, expanding or limiting the
   foregoing provisions of this paragraph (g), an individual or individuals may be
   authorized in writing by the Manager to execute any documents to be filed with the
   Secretary of State of the Commonwealth of Massachusetts and/or authorized to
   execute, acknowledge, deliver and record any recordable instruments on behalf of
   the Company purporting to effect an interest in real property, whether to be
   recorded with the registry of deeds or district office of the Land Court, and in the
   event of any such authorization the Application for Registration for the Company
   in the Commonwealth of Massachusetts shall include or, as appropriate, be
   amended to set forth such authorization.

                  Any Manager may, from time to time, by an instrument in writing,
   delegate all or any of its powers or duties hereunder to another Manager, if any, or
   to an officer, manager, member, or partner of any other Manager or to any
   Member or any other person or entity. Such writing may fully authorize such
   other Manager or such other person or entity, acting alone or with others, all as



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                                                     Manager
    or do hereunder (including, without limitation, executing checks, drafts,
    promissory notes, mortgages, deeds of trust, leases, deeds, easements, and
    contracts of any nature whatsoever) and may delegate such authority generally or
    as to any specified matter or specific terms, all as may be provided in writing by
    any such Manager. Any documents or other instruments executed by any person
    or entity to whom any such delegation has been made shall be binding upon and
    enforceable against the Company, and shall be the valid act and deed of the
    Company, if executed by such delegee, and any third party shall be fully protected
    in relying upon the authority of any such delegee pursuant to a written delegation
    by the (or a) Manager.

            (h)    The Manager shall be entitled to reimbursement from the Company
    for all expenses incurred by such Manager in managing and conducting the
    business and affairs of the Company. The Manager shall determine which
    expenses, if any, are allocable to the Company in a manner which is fair and
    reasonable to the Manager(s) and the Company, and if such allocation is made in
    good faith it shall be conclusive in the absence of manifest error.

             (i)    Any Manager, or the sole Manager if there is only one, may cause
    the Company to enter into one or more loans, agreements, leases, contracts or other
    arrangements for the furnishing to or by the Company of money, goods, services
    or space with any Member, Manager or an affiliate thereof, and may pay
    compensation thereunder for such goods, services or space, provided in each case
    the terms of any such arrangements are at least as advantageous to the Company as
    those which would be available to the Company under similar arrangements
    between unrelated parties, and if the determination of such terms is made in good
    faith it shall be conclusive in the absence of manifest error.

           (j)     In the performance of its duties and obligations hereunder, and in the
    exercise of its powers hereunder, the Manager shall act in good faith. The
    Company shall indemnify, defend and hold harmless the Manager, each Member,
    any person appointed to act for or on behalf of the Company pursuant to
    Section 1(g), and each such person's officers, directors, partners, members,
    shareholders, employees, and agents, and the employees, officers and agents of the
    Company (all indemnified persons being referred to as "Indemnified Persons" for
    purposes of this Section 1(j)), from any liability, loss, or damage incurred by an
    Indemnified Person by reason of any act performed or omitted to be performed by
    such Indemnified Person in connection with the business of the Company, and



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    such person's positionCwith     or relationship
                                - LLC  Agreement toPage    9 of 20 including reasonable
                                                      the Company,
    attorneys' fees and costs and any amounts expended in the settlement of any such
    claims of liability, loss, or damage; provided, however, that, if the liability, loss, -
    damage, or claim arises out of any action or inaction of an Indemnified Person,
    indemnification under this Section 1(j) shall be available only if (i) the
    Indemnified Person, at the time of such action or inaction, determined, in good
    faith, that its course of conduct was consistent with this Agreement or otherwise in
    the best interests of the Company, and (ii) the action or inaction did not constitute
    fraud, gross negligence or willful misconduct by the Indemnified Person. Any
    indemnification under this Section 1(j) shall be recoverable only from the assets of
    the Company and not from any assets of any of the Members.

              2.    Capital Contributions: Capital Accounts: and Liability of Members.

          (a)    The Member has contributed in cash to the capital of the Company
    the amount set forth opposite such Member's name on Schedule B hereto.

                  Additional capital contributions may be made (but are not required to
    be made) by the Member, or any of them if more than one, if necessary or
    desirable to enable the Company to meet its obligations.

                   Any third party may rely on a certificate or other statement from the
    Manager as to Member or Members of the Company and the respective Percentage
    Interests of the Members at any time. All capital contributions by the Member(s)
    shall be reflected on the books and records of the Company.

                  Upon approval of the Manager, any Member may make a loan or
    loans to the Company on such terms as the Manager may determine. No such loan
    shall be considered a contribution to the capital of the Company.

            (b)   No Member shall be obligated to contribute any additional capital or
    make any loans to the Company. No interest or preferred return shall accrue on
    any contributions to the capital of the Company. No Member shall have any rights
    or priority over any other Members as to contributions or as to distributions or
    compensation by way of income, except as may otherwise be specifically provided
    for elsewhere in this Agreement.

           (c)     If there is more than one Member at any time and the Company has
    not elected to be taxed as a corporation under the Internal Revenue Code, a
    separate capital account ("Capital Account") shall be established for each Member,



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    and shall be maintained in accordance witn appiicaoie regulations unuci uic
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    consistent with such regulations, there shall be credited to each Member's Capital
    Account the amount of any contribution of capital made by such Member to the
    Company, and such Member's share of the net profits, and items thereof, of the
    Company, and there shall be charged against each Member's Capital Account the
    amount of all distributions to such Members, and such Member's share of the net
    losses, and items thereof, of the Company.

           (d)     The liability of any Member for the losses, debts and obligations of
    the Company shall be limited to its capital contributions then made but not then
    previously repaid to or withdrawn by them in accordance with the terms of this
    Agreement. No Member, in its capacity as a Member or as Manager, shall have
    any liability to restore any negative balance in its Capital Account. In no event
    shall any Member, in its capacity as a Member, nor any Manager, whether or not
    also a Member, be personally liable for any judgments, debts, liabilities or
    obligations of the Company.

           (e)    The Member(s), unanimously if more than one, shall have the right
    at any time to require the Manager to elect to treat the Company as a corporation
    under the Internal Revenue Code.

            3.     Return of Contributions. No Member shall have the right to
    withdraw or to be repaid any capital contributed by it or to receive any property or
    other payment in respect of its interest in the Company, including, without
    limitation, as a result of the withdrawal or resignation of such Member from the
    Company, except as specifically provided in this Agreement.

              4.    Share of Distributions. Profits. Losses and Other items.

           (a)    All cash available for distribution shall be distributed to the Member,
    or among the Members if there is more than one Member, first to return any
    unrepaid capital contributions, pro-rata among the Members with such amounts in
    proportion to each respective Member's unrepaid capital contribution, and then
    among the Members according to their respective Percentage Interests.
    Distributions to the Members shall be made at such times and in such amounts as
    shall be reasonably determined by the Manager. Except as provided in the next
    paragraph, all distributions to Members shall be made in cash.

                   If the Manager elects, with the Consent of the Members, to distribute
    any assets of the Company in kind, such assets shall be distributed on the basis of



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            (b)    If and so long as the Company is taxed as a partnership, allocations
    of income, profit, gain and loss, shall be made as follows: (i) items of net income
    and gain shall be allocated among the Members in the manner necessary to
    increase each Member's Capital Account to an amount equal to the amount of cash
    such Member would be entitled to receive pursuant to Section 4(a) if an amount of
    cash equal to the net positive Capital Account balances (after such allocation) were
    distributed to the Members in the order and priority specified in Section 4(a), and
    (ii) items of net loss and deduction shall be allocated among the Members in the
    manner necessary to reduce each Member's Capital Account to an amount equal to
    the amount of cash such Member would be entitled to receive pursuant to
    Section 4(a) if an amount of cash equal to the net positive Capital Account
    balances (after such allocation) were distributed to the Members in the order and
    priority specified in Section 4(a).

                   Notwithstanding the foregoing, all allocations of items that cannot
    have economic effect (except "partner nonrecourse deductions") shall be allocated
    to the Members in accordance with the Members' interests in the Company,
    which, unless otherwise required by Code Section 704(b) and the Regulations
    promulgated thereunder, shall be in proportion to the Percentage Interests of the
    Members, and all "partner nonrecourse deductions" and "partner minimum gain"
    shall be allocated in accordance with the provisions of Treasury Regulations
    Section 1.704-2.

                  All items of depreciation, gain, loss, deduction or credit shall be
    determined in accordance with the Code and, except to the extent otherwise
    required by the Code, shall be allocated to and among the Members in the same
    percentages in which the Members share in net profits and net losses.

           (c)   Except as otherwise specifically provided herein, all tax elections
    shall be made by the Manager as it shall deem appropriate.

           5.     Substitution and Assignment of a Member's Interest. A Member
    may sell, assign, give, pledge, hypothecate, encumber or otherwise transfer
    (including, without limitation, any assignment or transfer by operation of law or by
    order of court) all or any part of such Member's interest in the Company, without
    the consent or approval of any other Member or of the Manager.




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            6.           C -Records.,Bank
                  Books and  LLC AgreementAccounts.
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          (a)   The Manager shall keep or cause to be kept complete and accurate
   books and records of the Company using such method as the Manager may elect.
   Such books and records shall be maintained and be available, in addition to any
   documents and information required to be furnished to the Members under the
   LLC Act, at an office of the Company for examination and copying by any
   Member, or its duly authorized representative, at its reasonable request and at its
   expense during ordinary business hours. Any Member may, at any time, at its own
   expense, cause an audit or review of the Company books to be made by a certified
   public accountant of its own selection.

                 A current list of the full name and last known address of each
   Member and of the Manager, a copy of this Agreement, any amendments thereto
   and the Certificate of Formation, executed copies of all powers of attorney, if any,
   pursuant to which this Agreement, any amendment, or the Certificate of Formation
   has been executed, copies of the Company's financial statements and federal, state
   and local income tax returns and reports, if any, for the five most recent years,
   shall be maintained at the registered office of the Company required by the LLC
   Act.

                 If the Company is taxed as a partnership, then on or before the due
   date (including extensions) of the federal income tax return of the Company for
   each fiscal year of the Company, the Manager shall cause each Member to be
   furnished with copies of the Company's federal income tax return and Schedule
   K-1's for each respective Member for the fiscal year then ended.

          If the Company is taxed as a corporation, the Manager shall timely
   (including extensions) file all requisite federal, state and local tax returns.

          (b)    Bank accounts and/or other accounts of the Company shall be
   maintained in such banking and/or other financial institution(s) as shall be selected
   by the Manager, and withdrawals shall be made and other activity conducted on
   such signature or signatures as shall be designated by the Manager.

           (c)    The fiscal year of the Company shall end on December 31 of each
   year.

          7.    Other Business. The Members, the Manager and any affiliates of
   any of them may engage in and possess interests in other business ventures and



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   investment opportunities of every kind and description, independently or with
   others, including serving as managers and general partners of other limited liability
   companies and partnerships with purposes similar to those of, and/or in
   competition with, the Company. Neither the Company nor any other Member or -
   Manager shall have any rights in or to such ventures or opportunities or the income
   or profits therefrom.

             8.    Dissolution and Continuation of the Company.

             (a)   The Company shall be dissolved and its affairs wound up upon:

                               (i) The election, made in writing by the Manager, with
                         the Consent of the Members, to dissolve the Company at any
                         time which is 90 days or more after notice of such election to
                         all Members;

                                (ii) The sale, disposition or abandonment of all or
                         substantially all of the assets of the Company; or

                               (iii) The entry of a decree of judicial dissolution under
                         the LLC Act.


                   The Company shall have no specific date of dissolution.

          (b)     Upon the dissolution of the Company for any reason, the Manager
   shall commence to wind up the affairs of the Company and to liquidate its assets.
   After the sale or other disposition of all of the assets of the Company to be
   disposed of in the liquidation, and gains and losses thereon shall be calculated. If
   the Company is taxed as a partnership, such gains and losses shall be allocated in
   the manner described in Section 4 hereof, and applied to the Capital Accounts of
   each Member to whom the allocations are made pursuant to the other provisions
   hereof

          (c)     Following the payment of all debts and liabilities of the Company to
   persons other than the Members and the payment of all expenses of liquidation,
   and subject to the reserves which the Manager, or other liquidating party, may
   determine is reasonably necessary for any contingent or unforeseen liabilities or
   obligations of the Company, the proceeds of the liquidation and any other funds
   shall be applied to the payment of any debts and liabilities to the Members, if any,
   and then shall be distributed to the Member(s) (i) in accordance with Section 4(a)



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   if the Company is taxed as a corporation, and (ii) in accordance with each
   Member's respective Capital Account(s) as of the date of such distribution, after
   giving effect to all contributions, distributions, and allocations for all periods, if
   the Company is taxed as a partnership.

          (d)     The assets of the Company shall be a Member's source of all
   distributions with respect to the Company, the return of its capital contributions
   thereto and its share of profits and losses thereof, and each such Member shall
   have no recourse therefor (upon dissolution or otherwise) against any other
   Members.

          (e)    Upon the completion of the liquidation of the Company and the
   distribution of all Company's funds, the Company shall terminate, and the
   Manager shall, or if none, the Members may authorize one or more Members to,
   execute and record such articles of dissolution for the Company and any and all
   other documents necessary to effectuate the dissolution and termination of the
   Company.

             9.    Miscellaneous.

           (a)     Subject to the restrictions on transfers set forth herein, the terms of
   this Agreement shall be binding upon and shall inure to the benefit of the Members
   and the Manager, their respective permitted successors, successors-in-title, heirs
   and assigns; and each and every successor-in-interest to any Member, whether
   such successor acquires such interest by way of inheritance, gift, purchase,
   foreclosure or any other method, and the Members shall hold such interest subject
   to all of the terms and provisions of this Agreement. None of the provisions of this
   Agreement shall be for the benefit of or enforceable by any creditor of any
   Member (including any Member acting in his capacity as a creditor of the
   Company).

          (b)     No change, modification or amendment of this Agreement shall be
   valid or binding unless such change, modification or amendment shall be in
   writing and duly executed by all of the Members and, if (but only if) such affects
   the rights or obligations of the Manager, executed by the Manager.

          (c)    This Agreement and the rights and obligations of the parties
   hereunder shall be governed by and interpreted and enforced in accordance with
   the laws of the State of Delaware, notwithstanding any choice of law rules to the
   contrary.




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         (d)     This Agreement may be executed in any number of counterparts, all
   of which together shall for all purposes constitute one Agreement, binding on all
   the Members and the Manager notwithstanding that all Members and the Manager
   have not signed the same counterpart.

          (e)     Any and all notices under this Agreement shall be effective (i) on the
   fourth business day after being sent by registered or certified mail, return receipt
   requested, postage prepaid, or (ii) on the second business day after being sent by
   express mail, telecopy, or commercial expedited delivery service providing a
   receipt for delivery. All such notices in order to be effective shall be addressed, if
   to the Company at its registered office under the LLC Act, if to a Member at the
   last address of record on the Company books, and copies of such notices shall also
   be sent to the last address for the recipient which is known to the sender, if
   different from the address so specified.

          (f)    As used herein, the singular shall include the plural and the
   masculine gender shall include the feminine and neuter, and vice versa, unless the
   context otherwise requires. The word "person shall mean a natural person, a trust
   of any nature, or any incorporated or unincorporated entity or association of any
   type or form.

          (g)    If any provisions of this Agreement, or the application of such
   provision to any person or circumstance, shall be held invalid, the remainder of
   this Agreement, or the application of such provision to persons or circumstances
   other than those to which it si held invalid, shall not be affected hereby.

          (h)    Words such as "herein", "hereinafter", "hereof', "hereto", "hereby",
   and "hereunder", when used in reference to the Agreement, refer to this Agreement
   as a whole, unless the context otherwise requires.

           (i)    This Agreement, including the Certificate of Formation, which is
   hereby incorporated herein, embodies the entire agreement and understanding
   between the parties hereto with respect to the subject matter hereof and supersedes
   all prior agreements and understandings relating to such subject matter.




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Case 23-40709      Doc 70-3 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                          C - LLC Agreement Page 16 of 20



          IN WITNESS WHEREOF, the Members have executed this Limited
   Liability Company Agreement of Westborough SPE LLC as of the date first above
   written.

                                    MEMBER:


                                    MIGNONETTE INVESTMENTS LIMITED

                                    By:
                                            Authorized Signatory


                                    MANAGER:

                                    BABCOCK & BROWN ADMINISTRATIVE
                                    SERVICES, INC.


                                    By:
                                            Its




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   GS2- 136229-1
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                       C - LLC Agreement Page 17 of 20




           IN WITNESS WHEREOF, the Members have executed this Limited
    Liability Company Agreement of Westborough SPE LLC as of the date first above
    written.

                                   MEMBER:


                                   MIGNO                             IMITED

                                   By:
                                                  ed Signatory

                                                  • FOr F.M.d.L1MITED
                                                      CORPORATE DIRECTORS
                                   MANAGER.:

                                   BABCOCK & BROWN ADMINISTRATIVE
                                   SERVICES, INC.


                                   By:
                                          Its
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                                SCHEDULE A
                                    TO
                  LIMITED LIABILITY COMPANY AGREEMENT
                                    OF
                          WESTBOROUGH SPE LLC

                                    MEMBER



            NAME AND ADDRESSES
                OF MEMBER                      PERCENTAGE INTEREST

   Mignonette Investments Limited                      100%




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                                 SCHEDULE B
                                     TO
                   LIMITED LIABILITY COMPANY AGREEMENT
                                     OF
                           WESTBOROUGH SPE LLC

                                     MEMBER



                                                 INITIAL CASH CAPITAL
                   MEMBER                            CONTRIBUTION

        Mignonette Investments Limited                  $10,000




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                                 SCHEDULE C
                                     TO
                   LIMITED LIABILITY COMPANY AGREEMENT
                                     OF
                           WESTBOROUGH SPE LLC




                             PROPERTY DESCRIPTION




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